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                                                                                Start: 9:30 a.m.
                                                                                Stop: 10:49 a.m.
                               UNITED STATES DISTRICT COURT
                                 CIVIL MINUTES - GENERAL

Case No:        4:22-cv-222-AW-MAF                                              Date: 01/27/2023
Title:          Families A Through V v Desantis et al.

DOCKET ENTRY:
                          Motion Hearing
                          Motions to Dismiss

PRESENT:         Honorable ALLEN C WINSOR, District Judge

      TiAnn Stark                                       Lisa Snyder (USDC-Tallahassee)
        Deputy Clerk                                   Court Reporter

Aaron Rapier                                            George Meros, Tara Price
Karen Gievers, Octavia Brown                            Nick Meros, Maureen Furino
     Attorneys for Plaintiff                          Attorneys for Defendant

PROCEEDINGS:

9:30 a.m.        Court called to order

9:30 a.m.        Arguments presented by Defendants

10:03 a.m.      Response by Plaintiffs

10:40 a.m.       Rebuttal by Defendants

10:46 a.m.       Court dismissed complaint as shotgun complaint; written order to follow on
                 private rights issue; amended complaint - if any- due 14 days after written order;
                 Governor precluded from amended complaint due to 11th amendment immunity

10:49 a.m.      Court adjourned
